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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HENRY ARGUDO and DIEGO SANAY, on behalf
of themselves and others similarly situated

                   Plaintiffs,
       v.

PAREA GROUP LLC, d/b/a TRATTORIA IL                               18 CV 678 (JMF)
MULINO, IMNY GS LLC d/b/a IL MULINO
TRIBECA, GFB RESTAURANT CORP. d/b/a IL
MULINO DOWNTOWN, WONDERFUL
RESTAURANT LLC d/b/a IL MULINO
UPTOWN, K.G. IM MANAGEMENT,
LLC, PASTA PERFECT LLC, IM 60 STREET, IL
MULINO USA, IM LLC-I, BRIAN GALLIGAN,
and GERALD KATZOFF,

                   Defendants.


       [PROPOSED] ORDER
       XXXXXXXXXXX              PRELIMINARILY APPROVING CLASS ACTION
                         SETTLEMENT AND PROVIDING FOR NOTICE


       WHEREAS, the above-captioned matter (the “Wage Action”) is currently pending

before this court; and

       WHEREAS, Plaintiffs have made an application, pursuant to Rule 23(e), Fed. R. Civ. P.,

for an order approving the settlement of the claims alleged in the Lawsuit, in accordance with a

Settlement Agreement and Release dated July 15, 2020) (the “Agreement”), which, together with

the exhibits annexed thereto, sets forth the terms and conditions for a proposed settlement of the

Wage Action against Defendants and for dismissal of the Wage Action against Defendants with

prejudice upon the terms and conditions set forth therein, and the Court has read and considered

the Agreement and the exhibits thereto; and
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        WHEREAS, all terms contained and not otherwise defined herein shall have the same

meanings set forth in the Agreement.

        IT IS ON THIS ____
                      23rd DAY OF _____________,
                                     July        2020 HEREBY ORDERED AS

FOLLOWS:

   1.    The Court hereby preliminarily approves the settlement set forth in the Agreement as

being fair, just, reasonable and in the best interests of the Class Members as described in the

Agreement (hereinafter the “Class”).

   2.                                                                 December 17
         The Settlement Hearing Shall be held before this Court, on _________________,  2020
                                                                                       _____

(at least 135 days after the entry of this Order) at the United States District Court, Southern
                                                                           3:00 p.m.
District of New York, Thurgood Marshall U.S. Courthouse, 40 Foley Square, at ______, New

York, NY 10007, to determine whether the proposed settlement of the Wage Action on the terms

and conditions provided for in the Agreement is fair, just, reasonable, adequate and in the best

interests of the Class, and should be approved by the Court; whether an Order and Final

Judgment of Dismissal, as provided in the Agreement, should be entered; and to determine the

amount of attorneys’ fees, costs and expenses that should be awarded Class Counsel.

   3.    The Court approves, as to form and content, the Settlement Notice and finds that the

mailing and distribution of the Settlement Notice substantially in the manner and form set forth

in the Agreement constitutes the best notice practicable under the circumstances, and constitutes

valid, due and sufficient notice to all persons in the Class, complying fully with the requirement

of Rule 23 of the Federal Rules of Civil Procedure, the Constitution of the United States and any

other applicable laws.

   4.    The Court reserves the right to adjourn the date of the Fairness Hearing without further

notice to the Class Members, and retains jurisdiction to consider all further applications arising



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out of or connected with the proposed settlement. Notice of any adjournment can be obtained

from Class Counsel: D. Maimon Kirschenbaum and/or Josef Nussbaum, 32 Broadway, Suite

601, New York, NY 10004 (telephone: (212) 688-5640). The Court may approve the settlement,

with such modifications as may be agreed to by the settling parties, if appropriate, without

further notice to the Class.
                                              twenty-one (21)
    5.      On or before the date that is five
                                          XXXXX(5) days before the final approval hearing, Class Counsel

shall move the Court for final approval of the settlement, and submit a memorandum of law in

support of Class Counsel’s application for attorneys’ fees and service awards. Any opposition shall
be filed no later than fourteen (14) days before the final approval hearing. No reply absent leave of Court.


          July 23
Dated: ________________, 2020                           ___________________________________
                                                        Hon. Jesse M. Furman
                                                        United States District Judge


         In their motion papers and at the final approval hearing, the parties should be prepared to address the fact
         that the Class, as certified by the Court, covered a different period than the proposed settlement (namely,
         "January 26, 2012, to the present,” or September 24, 2019. See ECF No. 120.

         The Court reserves the right to conduct the final approval hearing by telephone without notice to the Class.

         The Clerk of Court is directed to terminate ECF No. 217.




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